Case 1:22-cr-00043-DG-RML Document 65 Filed 02/22/24 Page 1 of 5 PagelD #: 533

t08tANepartaett Testis PROCESS RECEIPT AND RETURN
United States Marshals Service See "Instructions for Service of Process by U.S. Marshal"
PLAINTIFF COURT CASE NUMBER
United States CR 22-0043 (S-1) (DG)
DEFENDANT TYPE OF PROCESS
Shimshon Mandel Order of Forfeiture

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE United States Marshals Service
AT

ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
225 Cadman Plaza East, Brooklyn, New York 11201

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be

ved with this Form 285
BREON PEACE United States Attorney - Eastern District of New York ee
271 Cadman Plaza East, 7th Floor, Brooklyn, New York 11201
Attn: AUSA Claire S. Kedeshian

Number of parties to be
served in this case

Check for service
on U.S.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Pursuant to the Order of Forfeiture dated February 8, 2024, please deposit funds into the AFF

Chase Cashier's Check 9816910311 for $316,447.60

CATS ID #: 24-DOJ-000006

Signature of Attorney other Originator requesting service on behalf of TELEPHONE NUMBER DATE
[x] PLAINTIFF

Chere S. Kecleshian by OL El eee (718) 254-6051 2/21/2024

SPACE BELOW FOR‘USHOF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

I acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve

(Sign only for USM 285 if more = i ea —T | _- / > Of
than one USM 285 is submitted) No. 5 No. 5S > C7COA-A = 2 4l 2Y-

I hereby certify and return that 1 [] have personally served , [] have legal evidence of service, oy have executed as shown in "Remarks", the process described on the
individual, company, corporation, ete., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

[] [hereby certify and return that | am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (ifnot shown above) Date Time CT am
4)
2| 22| 24 C1 pm
Address (complete only different than shown above) Signature of U.S. Marshal or Deputy

Costs shown on attached USMS Cost Sheet >>

REMARKS

fb, 444.00 deposited into AFF an 2)22/(24,

| 2022~ CR - 69043 - |

Form USM-285
Rev. 03/21
Case 1:22-cr-00043-DG-RML Document 65 Filed 02/22/24 Page 2 of 5 PagelD #: 534

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Case 1:22-cr-00043-DG-RML Document 58-1 Filed 01/31/24 Page 1 of 4 PagelD #: 456

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

apes ae 2 ey oe ee ee XxX
UNITED STATES OF AMERICA ORDER OF FORFEITURE
- against - 22-CR-43 (S-1) (DG)
SHIMSHON MANDEL,
Defendant.
BI a See ee X

WHEREAS, on or about August 7, 2023, Shimshon Mandel (the “defendant’”),
entered a plea of guilty to the offense charged in the Sole Count of the above-captioned
Superseding Information, charging a violation of 18 U.S.C. § 371; and

WHEREAS, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),
the defendant has consented to the entry of a forfeiture money judgment in the amount of
three hundred sixteen thousand four hundred forty-seven dollars and sixty cents
($316,447.60) (the “Forfeiture Money Judgment’), as any property, real or personal,
constituting, or derived from, proceeds obtained directly or indirectly as a result of the
defendant’s violation of 18 U.S.C. § 371, and/or a substitute asset, pursuant to 21 U.S.C. §
853(p).

IT IS HEREBY ORDERED, ADJUDGED AND DECREED, on consent, by
and between the United States and the defendant as follows:

1. The defendant shall forfeit to the United States the full amount of the
Forfeiture Money Judgment, pursuant to 18 U.S.C. § 981(a)(1)(C), 21 U.S.C. § 853(p), and

28 U.S.C. § 2461(c).
Case 1:22-cr-00043-DG-RML Document 65 Filed 02/22/24 Page 3 of 5 PagelD #: 535

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Case 1:22-cr-00043-DG-RML Document 58-1 Filed 01/31/24 Page 2 of 4 PagelD #: 457

2. All payments made towards the Forfeiture Money Judgment shall be
made by a money order, or certified and/or official bank check, payable to the U.S. Marshals
Service with the criminal docket number noted on the face of the instrument. The defendant
shall cause said payment(s) to be sent by overnight mail delivery to Assistant United States
Attorney Claire S. Kedeshian, United States Attorney’s Office, Eastern District of New
York, 271-A Cadman Plaza East, Brooklyn, New York 11201. The Forfeiture Money
Judgment shall be paid in full 30 days in advance of sentencing (the ““Due Date’’).

3. If the defendant fails to pay any portion of the Forfeiture Money
Judgment on or before the Due Date, the defendant shall forfeit any other property of his up
to the value of the outstanding balance, pursuant to 21 U.S.C. § 853(p), and further agrees
that the conditions of 21 U.S.C. § 853(p)(1)(A)-(E) have been met.

4, Upon entry of this Order of Forfeiture (“Order’’), the United States
Attorney General or his designee is authorized to conduct any proper discovery in
accordance with Fed. R. Crim. P. 32.2(b)(3) and (c). The United States alone shall hold title
to the monies paid by the defendant to satisfy the Forfeiture Money Judgment following the
Court’s entry of the judgment of conviction.

5. The defendant shall fully assist the government in effectuating the
payment of the Forfeiture Money Judgment, by among other things, executing any
documents necessary to effectuate any transfer of title to the United States. The defendant
shall not file a claim or petition seeking remission or contesting the forfeiture of any property
against which the government seeks to satisfy the Forfeiture Money Judgment in any
administrative or judicial (civil or criminal) proceeding. The defendant shall not assist any

person or entity to file a claim or petition seeking remission or contesting the forfeiture of

United States v. Shimshon Mandel
22-CR-43 (S-1) (DG) Order of Forfeiture Page 2
Case 1:22-cr-00043-DG-RML Document 65 Filed 02/22/24 Page 4 of 5 PagelD #: 536

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Case 1:22-cr-00043-DG-RML Document 58-1 Filed 01/31/24 Page 3 of 4 PagelD #: 458

any property against which the government seeks to satisfy the Forfeiture Money Judgment
in any administrative or judicial (civil or criminal) forfeiture proceeding.

6. The defendant knowingly and voluntarily waives his right to any
required notice concerning the forfeiture of the monies and/or properties forfeited hereunder,
including notice set forth in an indictment or information. In addition, the defendant
knowingly and voluntarily waives his right, if any, to a jury trial on the forfeiture of said
monies and/or properties, and waives all constitutional, legal and equitable defenses to the
forfeiture of said monies and/or properties, including, but not limited to, any defenses based
on principles of double jeopardy, the x Post Facto clause of the Constitution, any applicable
statute of limitations, venue, or any defense under the Eighth Amendment, including a claim
of excessive fines.

7. The entry and payment of the Forfeiture Money Judgment is not to be
considered a payment of a fine, penalty, restitution loss amount or a payment of any income
taxes that may be due, and shall survive bankruptcy.

8. Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this Order shall
become final as to the defendant at the time of sentencing and shall be made part of the
sentence and included in the judgment of conviction. This Order shall become the Final
Order of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2). At that time, the monies
and/or properties paid toward the Forfeiture Money Judgment shall be forfeited to the United
States for disposition in accordance with the law.

0. This Order shall be binding upon the defendant and the successors,
administrators, heirs, assigns and transferees of the defendant, and shall survive the

bankruptcy of any of them.

United States v. Shimshon Mandel
22-CR-43 (S-1) (DG) Order of Forfeiture Page 3
Case 1:22-cr-00043-DG-RML Document 65 Filed 02/22/24 Page 5 of 5 PagelD #: 537

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Case 1:22-cr-00043-DG-RML Document 58-1 Filed 01/31/24 Page 4 of 4 PagelD #: 459

10. This Order shall be final and binding only upon the Court’s “so
ordering” of the Order.

11. The Court shall retain jurisdiction over this action to enforce
compliance with the terms of this Order and to amend it as necessary, pursuant to Fed. R.
Crim. P. 32.2(e).

12. The Clerk of the Court is directed to send, by inter-office mail, three (3)
certified copies of this executed Order to the United States Attorney’s Office, Eastern
District of New York, Attn: FSA Senior Law Clerk Jennifer Lai, 271-A Cadman Plaza East,
Brooklyn, New York 11201.

Dated: Brooklyn, New York
February 8 , 2024

SO ORDERED:

/s/ Diane Gujarati

HONORABLE DIANE GUJARATI
UNITED STATES DISTRICT JUDGE
EASTERN DISTRICT OF NEW YORK

United States v. Shimshon Mandel
22-CR-43 (S-1) (DG) Order of Forfeiture Page 4
